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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Northern District of New York

  SARAH MATTHEWS and JEFFREY MATTHEWS,                                )
 lndividaually and as Parents and Natural Guardians                   )
  of M.M. 1, an infant under the age of 18 years and                  )
     M.NM. 2, an infant under the age of 18 years,
                                                                      )
                            Plaintiff(s)                              )
                                V.                                    )       Civil Action No. 6:24-CV-0202 (DNH/TWD)
                                                                      )
  BRUNSWICK CORPORATION d/b/a MERCURY
                                                                      )
 MARINE, by and through its Agents, Officers and/or
                   Employees                                          )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
                                           Brunswick Corporation d/b/a Mercury Marine
                                           by and through its Agents, Officers and/or Employees
                                           W 6250 Pioneer Road
                                           Fond du Lac, WI 54936



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) -or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                           Timothy J. DeMore, Esq.
                                           Phillip D. Dysert, Esq.
                                           DeMore Law Firm, PLLC
                                           125 East Jefferson Street, Suite 900
                                           Syracuse, New York 13202
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




                                                                                            s/ Helen M. Reese
        02/12/2024
Date: ----------
                                                                                          Signature of Clerk or Deputy Clerk
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Civil Action No.         6:24-CV-0202 (DNH/TWD)

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, if any)
was received by me on (date)

          O I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or

          O I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual's last known address; or

          O I served the summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                            ; or

          O I returned the summons unexecuted because                                                                              ; or

          O Other (specify):




          My fees are $                           for travel and $                  for services, for a total of $          0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server's signature



                                                                                       Printed name and title




                                                                                            Server's address

Additional information regarding attempted service, etc:
